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                                           ORDERED.


      Dated: October 08, 2019




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re :                                                            Case Number 6:19-bk-03539-KSJ
                                                                   Chapter 7

Deborah Sue Ann Killian,
                             Debtor(s).
______________________________________/

             ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL
   ESTATE SERVICES AND KAVITA HANISHA UTTAMCHANDANI AS LISTING AGENT

          THIS CASE came on for a hearing on October 1, 2019 at 11:00 a.m., on the Trustee’s (I)
Application to Retain BK Global Real Estate Services to Procure Consented Private Sale Pursuant to 11
U.S.C. §§ 327, 328, and 330, and (II) Application to Retain Kavita Hanisha Uttamchandani of Century 21
Carioti as Listing Agent and to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and 330,
(docket no. 24) filed August 26, 2019. Special Counsel, Kristen L. Henkel, appeared. Having reviewed
the Application, the file, and otherwise being advised on the premises, the Court concludes that BK Global
Real Estate Services and the Listing Agent do not hold or represent an interest adverse to the estate and are
disinterested persons within the meaning of § 101(14) of the Bankruptcy Code. The Court further concludes
that BK Global Real Estate Services and the Listing Agent are qualified to represent the Trustee and that
the Court’s authorization of their employment is in the best interest of the estate. Accordingly, it is
          ORDERED the Application is granted and the Court approves the retention of BK Global Real
Estate Services and Kavita Hanisha Uttamchandani of Century 21 Carioti to sell real property located at
3043 Zander Dr., Grand Island, FL 32735, Parcel ID No. 33-18-26-0010-000-13500. BK Global Real
Estate Services (“BKRES”) and Listing Agent shall be compensated in accordance with the BKRES
Declaration and Listing Agreement, respectively, and such compensation shall be subject to the provisions




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of § 330 of the Bankruptcy Code. Upon a sale of property to a third party, BKRES and Listing Agent shall
receive a 6% commission, paid by Secured Creditor. In the alternative, if the property is transferred to
Secured Creditor, BKRES shall receive a 2% commission, paid by Secured Creditor, $500.00 of which
shall be paid to Listing Agent. Secured Creditor’s proposed compensation of BKRES and Listing Agent
shall be disclosed in any Motion for Order approving sale of Property. BK Global Real Estate Services and
Listing Agent shall be authorized to receive and retain their fees from Secured Creditor at the successful
closing of the sale of the Property, in accordance with the Order approving sale. The estate shall, in no
circumstance, be obligated to compensate BKRES or Listing Agent. BKRES and Listing Agent shall not
have a claim against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming
by, through or under either of them, shall only have recourse for recovering fees from Secured Creditor.
The estate shall have no liability for any such claims. BKRES and Listing Agent shall not be awarded any
compensation at an hourly rate. Compensation will be determined later in accordance with 11 U.S.C. §
330. The hourly rate is not guaranteed and is subject to review.

Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do
not receive service by CM/ECF and file a proof of services within 3 days of entry of the Order.




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